        Case 1:18-cv-10864-JPO Document 32 Filed 01/17/20 Page 1 of 1
                                                                         ~    --
                                                                       ';Si)(
                                                                             {'
                                                                             ',    '




UNITED ST ATES DISTRICT COURT                                         l)(;( -

SOUTHERN DISTRICT OF NEW YORK                                         . i/·, r;
-----------------------------------------------------------X
NY AISHA GEORGE,
                                   Plaintiff,                         18     CIVIL 10864 (JPO)

                 -v-                                                         JUDGMENT

NANCY A. BERRYHILL, ACTING
COMMISSIONER OF SOCIAL SECURITY,
                     Defendant.
-----------------------------------------------------------X

        It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated January 16, 2020, that this action is remanded to the

Commissioner of Social Security pursuant to sentence four of 42 U .S.C. § 405(g), for further

administrative proceedings, including updating the record with the assistance of Plaintiffs counsel

and the opportunity for a hearing.


Dated: New York, New York
       January 17, 2020

                                                                     RUBY J. KRAJICK

                                                                       Clerk of Court
                                                               BY:
